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       Of Attorneys for Defendant Gutterman’s Supply Corp. of America




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


PACCAR FINANCIAL CORP. dba PACCAR
LEASING COMPANY,                                    Case No. 3:19-cv-01488-AC

                                         Plaintiff, THIRD JOINT STATUS REPORT

                        v.

GUTTERMAN’S SUPPLY CORPORATION
OF AMERICA,

                                       Defendant.

       Pursuant to this Court’s November 3, 2020 order requiring Plaintiff PACCAR Financial

Corp. (“PacLease”) and Defendant Gutterman’s Supply Corporation of America (“Gutterman’s”)

to submit a joint status report on or before February 1, 2021, and additional status reports every

90 days thereafter, the parties jointly submit this status report to the Court addressing the status

of the related state court action between the parties, Run-Rite Industries, LLC & Gutterman’s

Supply Corp. of America v. PACCAR Financial Corp., Multnomah County Circuit Court Case

No. 19CV40165 (“the state court action”). This report supplements the prior joint status reports

of the parties, which they filed on July 28, 2020 and November 2, 2020.


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        Counsel for Defendant Gutterman’s confirms he shared this Third Joint Status Report

with counsel for Defendant PacLease before filing it with the Court and that counsel for

PacLease approves of this filing.

                              THIRD JOINT STATUS REPORT

        On September 28, 2020, PacLease filed Defendant’s Amended Answer and Affirmative

Defenses to Amended Complaint, and Counterclaims.

        On November 2, 2020, Run-Rite and Gutterman’s filed Plaintiff’s Reply to Amended

Answer and Counterclaims.

        On November 17 and 20, 2020, and January 6, 2021, PacLease made supplemental

productions of documents in response to requests for production, which consisted of

approximately four thousand (4,000) pages of records.

           On December 11, 2020, Multnomah County Circuit Court held a trial readiness

conference with counsel for the parties.   On December 14, 2020, the court entered a trial

readiness conference order. The order schedules a seven-day jury trial to begin on September

13, 2021, with call for trial on September 10, 2021, and an ADR Certificate due by July 30,

2021.

        DATED this 1st day of February, 2021

                                           CHENOWETH LAW GROUP, PC


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the date stated below I caused to be served a copy of the
foregoing THIRD JOINT STATUS REPORT on the following person(s) in the manner
indicated below at the following address(es):

       Sara C. Cotton
       Jessica Schuh
       Schwabe, Williamson & Wyatt
       1211 SW 5th Ave
       Ste. 1600
       Portland, OR 97204
       503-796-7464
       503-796-2900 (fax)
       scotton@schwabe.com
       jschuh@schwabe.com
       Attorneys for Plaintiff

by the following method(s)

 X         by e-service / emailing a full, true and correct copy thereof to the parties at the email
           addresses shown above, which are the last-known email addresses of the parties, on the
           date set forth below.

______ by mailing a full, true and correct copy thereof in a sealed, first-class, postage pre-paid
       envelope, addressed to the last-known address of the parties as shown above, and
       deposited with the United States Postal Service at Portland, Oregon, on the date set
       forth below.

       Dated: February 1, 2021
                                               CHENOWETH LAW GROUP, PC


                                               s/ Skylar Washabaugh
                                               Skylar Washabaugh, Paralegal




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